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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS

SYMBOLOGY INNOVATIONS, LLC                        )
                                                  )
       Plaintiff,                                 )       CASE NO. 1:17-cv-09036
                                                  )
                                                  )
       v.                                         )      JURY TRIAL DEMANDED
                                                  )
BANKFINANCIAL, N.A.                               )     Honorable Edmond E. Chang
                                                  )
       Defendant.                                 )


                          NOTICE OF JOINT MOTION TO STAY

TO: All parties of record.


PLEASE TAKE NOTICE that on Monday the 12th Day of March, 2018 at 8:30 a.m. I will appear
before the Honorable Edmond E. Chang, or any other judge sitting instead in the United States
District Court, Northern District of Illinois, Eastern Division, Courtroom 2119, Dirksen Federal
Building, 219 South Dearborn Street, Chicago, Illinois and then and there present the attached
Joint Motion to Stay, a copy of which is hereby served upon you.

Frank J. Andreou 6228670
ANDREOU & CASSON, LTD.
661 West Lake St., Suite 2N
Chicago, Illinois 60661
312.935.2000/ 312.935.2001


                                     PROOF OF SERVICE

The undersigned, an attorney, under penalties as provided by law pursuant to 735 ILCS 5/1-109
hereby certify and state that I electronically filed the foregoing with the Clerk of the Court using
the CM/ECF system which will send notification of such filing to all parties of record via the
CM/ECF system on this 6th day of March, 2018.



                                                              /s/ Brittni King
                                                              Brittni King
